 Case: 1:16-cv-08637 Document #: 3579 Filed: 04/23/20 Page 1 of 1 PageID #:253821



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST                     No. 1:16-cv-08637
LITIGATION

This Document Relates To: ALL CASES


                        NOTICE OF WITHDRAWAL OF COUNSEL
TO: The Clerk of the Court and to All Parties and Counsel of Record:

       PLEASE TAKE NOTICE THAT Gabrielle Olivieri Sliwka is no longer an attorney at the

law firm of Gustafson Gluek PLLC and is hereby withdrawn as Counsel for Indirect Purchaser
Plaintiffs. Ms. Olivieri Sliwka should be removed from the Court’s service list with respect to

this action. The law firms of Cotchett, Pitre & McCarthy, LLP and Gustafson Gluek PLLC

continue to represent the Indirect Purchaser Plaintiffs should continue to be reflected as Co-Class
Counsel, and all future correspondence and papers in this action should continue to be directed to

Adam J. Zapala at Cotchett, Pitre & McCarthy, LLP, and Daniel E. Gustafson and Daniel C.
Hedlund of Gustafson Gluek PLLC.


Dated: April 23, 2020                     GUSTAFSON GLUEK PLLC

                                         By: /s/ Daniel C. Hedlund
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